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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

IN RE:                                        )       CHAPTER 7
                                              )
MICHAEL PELLEGRINO,                           )       NO. 18-8362
                                              )
                        Debtor.               )       JUDGE LASHONDA A. HUNT

                           MOTION OF JOHN K. KNEAFSEY TO
                          WITHDRAW AS COUNSEL FOR DEBTOR

         John K. Kneafsey moves the Court, pursuant to Local Rule 2091-A to grant his motion to

withdraw as counsel for Michael A. Pellegrino (the “Debtor”). In support of this Motion, John

K. Kneafsey respectfully states as follows:

         1.     On March 16,2018, John K. Kneafsey was retained by the Debtor, Michael A.

Pellegrino, to represent Michael A. Pellegrino to cover normal bankruptcy proceedings. Any

adversary proceedings or other litigation in the bankruptcy proceeding would be on a separate

agreement entered into by the parties, including hourly rate and costs. Exhibit 1.

         2.     John K. Kneafsey has met with the Debtor, Michael A. Pellegrino on several

occasions, and had a verbal agreement that was to be evidenced by a written agreement for

representation to cover non-normal bankruptcy proceedings such as Bankruptcy 2004 meetings

and adversary proceedings.

         3.     Michael A. Pellegrino has not fulfilled the oral agreement to sign the agreement

for representation or fulfill its terms.

         4.     There has been before this Court motions by the U. S. Trustee, and two (2)

debtors concerning extensions of time to file adversary complaints and motions concerning 2004

meetings for the Debtor and four (4) other persons.
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        5.     The Debtor, Michael A. Pellegrino, has not agreed to sign an agreement for this

firm to represent him in the additional litigation.

       WHEREFORE, pursuant to local Rule 2091-A, Nisen & Elliott, LLC and John K.

Kneafsey move to withdraw as counsel for Debtor, Michael A. Pellegrino and move for this

Court grant leave to withdraw as counsel.

                                                      Respectfully submitted,

                                                      /s/John K. Kneafsey_______________
                                                      John K. Kneafsey
                                                      NISEN & ELLIOTT, LLC
                                                      200 W. Adams Street, Suite 2500
                                                      Chicago, IL 60606
                                                      (312)346-7800
                                                      ikneafsev@,nisen. com
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IN RE:                                         )      CHAPTER 7
                                              )
MICHAEL PELLEGRINO,                            )     NO. 18-8362
                                              )
                       Debtor.                 )      JUDGE LASHONDA A. HUNT


                                     NOTICE OF MOTION


       PLEASE TAKE NOTICE that on July 19, 2018 at 10:00 a.m., I shall appear before the
Honorable LaShanda A. Hunt, Bankruptcy Judge in Courtroom 719 at the Everett McKinley
Dirksen Federal Building, 219 S. Dearborn Street, Chicago, Illinois, or any other Bankruptcy
judge who may be sitting in her place and shall present a Motion Pursuant to Local Rule 2091-
A to Withdraw as Counsel for Debtor, a copy of which is attached hereto and is hereby served
upon you.



                                                      /s/John K. Kneafsev_____
                                                      John K. Kneafsey
                                                      NISEN & ELLIOTT, LLC
                                                      200 West Adams Street
                                                      Suite 2500
                                                      Chicago, IL 60606
                                                      (312) 346-7800
                                                      ikneafsey@nisen.com


                                 CERTIFICATE OF SERVICE

        I John K. Kneafsey, an attorney, state that on July 11, 2018, pursuant to Local Rule 9013-
1(D) the Notice of Motion and Motion of John Kneafsey to Withdraw as Counsel for Debtor
were filed and served on all parties, either via the Court’s Electronic Notice for Registrants or via
First Class Mail, as indicated on the service list below.


                                                      /s/John K. Kneafsev
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                                       SERVICE LIST

Registrants Serviced Through the Court’s Electronic Notice:

Richard H. Fimoff            rfimoff@rsplaw.com, fb@rsplaw.com

Patrick S. Layng             USTPRegionl 1.ES.Ecf@usdoi.gov

Philip V. Martino           philip.martino@quarles.com; pmartino@ecf.epiqsvstems.com
ienny.fik@quarles.com; colleen.greer@quarles.com; wemet@quarles.com

Michael A. Pellegrino        m.pellegrino3@gmail.com


Parties Served Via First Class Mail

Roman Sukley, Attorney
Office of the U.S. Trustee
219 S. Dearborn Street
Room 873
Chicago, IL 60604

Michael A. Pellegrino
651 S. Sutton Rd.
#209
Streamwood, IL 60107
(First Class Mail and Certified Mail, Return Receipt Requested)
